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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY

             CHAPTER 13 DEBTOR’S ATTORNEY FEE APPLICATION COVER SHEET

Debtor:              _________________________                 Applicant:   __________________________

Case No.:            _                                         Chapter:                 13

Petition Date:       __________________________


I certify that I am the attorney for the debtor(s) and submit this Application for Compensation
and Reimbursement of Expenses (Application) in accordance with D.N.J. LBR 2016-1 and
2016-5.

I further certify:

        1. A pre-petition written retainer agreement (Agreement) has been executed with the debtor(s)
           and this Application is consistent with that Agreement and D.N.J. LBR 2016;

       2. I have complied with 11 U.S.C. §§ 527 and 528;

        3. The fees sought in this Application:
                           will not reduce the amount to be paid to general unsecured
                           creditors under the plan;
                           will reduce the amount to be paid to general unsecured creditors under the plan
                           as follows: ______________________________________________________
                           ________________________________________________________________;

        4. I have advised the debtor(s) that the fees sought in this Application:
                           will not increase the amount and/or duration of plan payments;
                           will increase the amount and/or duration of plan payments as follows:
                           _________________________________________________________
                           _________________________________________________________;

        5. I have advised the debtor(s) that the fees sought in this Application:
                           will be paid through the plan;
                           will be paid outside of the plan;

        6. I have served a copy of this Fee Application Cover Sheet and Application on the debtor(s).

I certify under penalty of perjury that the above is true.


Date: _____________________________                            ____________________________________
                                                               Signature

NOTE:                DO NOT COMPLETE SECTIONS I-III BELOW IF THE AMOUNT OF THIS
                     APPLICATION, INCLUSIVE OF EXPENSES, IS UNDER $1,000.
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                                          SECTION I
                                        FEE SUMMARY

      Interim Fee Application No.        or       Final Fee Application

                                               FEES                       EXPENSES
Total Previous Fees Received                   $ _______________          $ _______________
Total Fees Allowed to Date:                    $ _______________          $ _______________
Total Retainer (If Applicable):                $ _______________          $ _______________
Total Received by Applicant:                   $ _______________          $ _______________


 NAME OF PROFESSIONAL                     YEAR ADMITTED           HOURS           RATE           FEE
 & TITLE                                  (Or Years of
                                          Professional Service)

 1.

 2.

 3.

 4.

 5.

 6.

 7.



          Fee Totals:                          __________________
          Expense Totals:                      __________________
          Total Fee Application                __________________




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                                              SECTION II
                                          SUMMARY OF SERVICES


 SERVICES RENDERED                                                                   HOURS   FEE
 a) Preparation of Petition
      Meeting with client(s), drafting and signing of petition.

 b) Attendance at Meeting of Creditors
      Preparation for, and attendance at meeting of creditors.

 c) Review of Claims; Prosecution of Objections to Claims
      Review and analysis of filed claims. Negotiate with creditors and coordinate
      with debtor. Preparation of pleadings and responses. Attend Hearing.

 d) Case Administration
      Coordination of administrative tasks with debtor. Communication with trustee
      and creditors. Filing and service of amendments to schedules, change of
      address, Certification in Support of Discharge, Financial Management
      Certification. Preparation and filing of retention and fee applications.

 e) Plan and Modification of Plan
      Formulation and drafting of plan or modified plan. Coordination with client
      and creditors. Review of objections to confirmation. Attend confirmation
      hearing(s).

 f) Prosecution of Motion(s)
      Draft motion(s), reply to opposition filed and attend hearing.

 g) Defense of Motion(s)/Certification(s) of Default
      Review and analysis of pleadings. Coordinate response with client. Draft
      opposition documents. Attend hearing.

 h) 2004 Examination
      Preparation for, and attendance at 2004 examination(s).

 i)   Prosecution/Defense of Adversary Proceeding
      Review and analyze issues. Preparation for and attendance at depositions.
      Preparation of related pleadings and responses. Court appearances.

 j)   Loss Mitigation/Loan Modification
      Communication with secured lender. Coordination with debtor. Preparation of
      pleadings. Participation in settlement conferences. Attend hearing.

 k) Travel Time

 TOTALS:




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                                             SECTION III
                                         SUMMARY OF EXPENSES


   DISBURSEMENTS                                                                  AMOUNT
   a)   Computer Assisted Legal Research
        Westlaw/Lexis and a description of manner calculated.

   b)   Pacer Fees
        Payable to the Pacer Service Center.

   c)   Case Specific Telephone/Conference Call Charges
        Exclusive of overhead charges.

   d)   In-House Reproduction Services
        Exclusive of overhead charges. Include per page fee charged.

   e)   Outside Reproduction Services
        Including scanning services.

   f)   Other Research
        Title searches, UCC searches, Asset searches, Accurint.

   g)   Court Reporting
        Transcripts.

   h)   Travel
        Mileage, tolls, parking.

   i)   Courier & Express Carriers
        Overnight and personal delivery.

   j)   Postage

   k)   Other (specify)

   DISBURSEMENTS TOTAL:


I certify under penalty of perjury that the above is true.

Date: ______________________                                 _______________________________
                                                              Signature


                                                                                          rev.8/1/19




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